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9
                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     THE UNITED STATES OF AMERICA, ) No. 12-CR-00375 GEB
                      Plaintiff,        )
12                                      ) STIPULATION REGARDING
                                        ) EXCLUDABLE TIME PERIODS
13
           v.                           ) UNDER SPEEDY TRIAL ACT;
14                                      ) [PROPOSED] FINDINGS AND
                                        ) ORDER
15
     KENNETH PARKS                      )
16   GREGORY MARTIN                     )
     MICHAEL TAYLOR SR.                 )
17   MICHAEL TAYLOR JR.                 )
18   ANDRE WALTERS                      )
                                        ) Date: 4-26-13
19                    Defendants.       ) Time: 9:00 a.m.
20
     ________________________________) Judge: Hon. Garland E. Burrell

21
                                         STIPULATION
22
           Plaintiff United States of America, by and through its counsel of record, and
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24
     defendants by and through their counsels of record, hereby stipulate as follows:

25         1.      By previous order, this matter was set for status on March 29, 2013.
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           2.      By this stipulation, defendants Kenneth Parks, Gregory Martin, Michael
27
     Taylor Sr., Michael Taylor Jr. and Andre Walters now move to continue the status
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1    conference until April 26, 2013 and to exclude time between March 29, 2013 and April
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     26, 2013 under Local Code T4. Plaintiff does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the
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5    following:
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            a.      The government has represented that the discovery associated with this case
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     is rather voluminous and that there is still some outstanding discovery.
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9           b.      Counsels for the defendants desire additional time to consult with their

10   clients, to review the current charges, to finish the investigation and research related to
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     the charges, review the discovery and to discuss potential resolutions with their clients.
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            c.      Counsels for the defendants believe that failure to grant the above-
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14   requested continuance would deny them the reasonable time necessary for effective
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     preparation, taking into account the exercise of due diligence.
16
            d.      The government does not object to the continuance.
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18          e.      Based on the above-stated findings, the ends of justice served by continuing
19   the case as requested outweigh the interest of the public and the defendant in a trial
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     within the original date prescribed by the Speedy Trial Act.
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22
            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

23   3161, et seq., within which trial must commence, the time period of March 29, 2013 to
24
     April 26, 2013, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),
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     B(iv) [Local Code T4] because it results from a continuance granted by the Court at
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27   defendants’ request on the basis of the Court's finding that the ends of justice served by
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     taking such action outweigh the best interest of the public and the defendants in a speedy


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1    trial.
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              4.      Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable
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5    from the period within which a trial must commence.
6
     IT IS SO STIPULATED.
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     Dated: March 28, 2013                      Respectfully submitted,
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9
                                                /s/ Kelly Babineau
10                                              KELLY BABINEAU
11
                                                Attorney for Kenneth Parks

12
     Dated: March 28, 2013                      /s/ Chris Cosca
13
                                                Kelly Babineau for CHRIS COSCA
14                                              Attorney for GREGORY MARTIN
15

16   Dated: March 28, 2013                      /s/ Thomas Johnson
                                                Kelly Babineau for THOMAS JOHNSON
17
                                                Attorney for MICHAEL RAY TAYLOR SR.
18

19   Dated: March 28, 2013                      /s/ Timothy Warriner
20                                              Kelly Babineau for TIMOTHY WARRINER
                                                Attorney for MICHAEL RAY TAYLOR JR.
21

22
     Dated: March 28, 2013                      /s/ Michael L. Chaistaine
23                                              Kelly Babineau for MICHAEL CHASTAINE
                                                Attorney for ANDRE WALTERS
24

25   Dated: March 28, 2013                      /s/ Jared Dolan
                                                Kelly Babineau for JARED DOLAN
26
                                                United States Attorney
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2                                                    ORDER
3

4                          IT IS SO FOUND.
5    Date: 3/28/2013
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                                                   ___________________________________
7                                                  GARLAND E. BURRELL, JR.
                                                   Senior United States District Judge
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     DEAC_Signature-END:




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